85 F.3d 612
    Matrix Essentials, Inc.v.Cosmetic Gallery, Inc., Charles Eisenberg, Larry Eisenberg,Gullo's Family Hair Care, Barry Gourlay, Gullo's Family HairCare Center, Gullo's, Robert Gullo, Rick Gullo, Sal Gullo,C&amp;L Beauty Supply, Inc.
    NOS. 95-5012, 95-5057
    United States Court of Appeals,Third Circuit.
    Apr 04, 1996
    
      1
      Appeal From:  D.N.J., No. 92-CV-03400,
    
    870 F.Supp. 1237
    
      2
      AFFIRMED.
    
    